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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


     UBIQUITI NETWORKS, INC.,

                             Plaintiff,

                        v.

     CAMBIUM NETWORKS, INC.;                         Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, LTD.;
     BLIP NETWORKS, LLC;                             JURY TRIAL DEMANDED
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and DMITRY
     MOISEEV.

                             Defendants.



                              NOTICE OF PRESENTMENT

        PLEASE TAKE NOTICE that on Wednesday, September 25, 2019 at 9:00 a.m., the
undersigned shall appear before the Honorable Gary Feinerman in Courtroom 2125 of the
Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, and shall then and there
present Unopposed Motion of Attorney Jason J. Keener to Withdraw as Counsel for
Plaintiff Ubiquiti Inc., a copy of which is herewith served upon you.

Dated: September 20, 2019
                                           Respectfully submitted,

                                           /s/ Jason J. Keener
                                           Jason Keener (ARDC #6280337)

                                           Attorney for Plaintiff Ubiquiti Networks, Inc.
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                               CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on September 20, 2019, he caused the
foregoing document to be electronically filed with the Clerk of the United States District Court
for the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which
is also served upon counsel for all parties of record.




                                                   /s/ Jason J. Keener
                                                   Jason J. Keener
